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 8
                           UNITED STATES DISTRICT COURT
 9
                                   DISTRICT OF NEVADA
10
11 CANDY TORRES,               )                No. 2:19-cv-00594-APG-EJY
                               )
12               Plaintiff,    )                ORDER EXTENDINGDEADLINE
            vs.                )                TO LODGE JOINTREVISED
13                             )                PRETRIAL ORDER
      ALLAN ROTHSTEIN and KYLE )
14    PUNTNEY,                 )
                               )
15                             )
                 Defendants.   )
16                             )
                               )
17    Related Cross Complaint  )
                               )
18
            Having considered the unopposed second application of plaintiff Candy
19
      Torres for an extension of time to lodge the joint revised pretrial order in this
20
      action, and good cause appearing therefor, IT IS HEREBY ORDERED that the
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      deadline for lodging the joint revised pretrial order is extended to Friday, October
22
      14, 2021.
23
            SO ORDERED.
24
            Dated:             1 2021.
                      October ____,
25
26
                                                     _________________________
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                                                            ______________    ___
27                                                   Hon.
                                                       n Andrew
                                                          Andrew P.P Gordon
                                                     United States District Judge
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